      Case 2:17-cr-00661-DMG Document 394 Filed 12/06/18 Page 1 of 6 Page ID #:5526
 N arne and address:
 Julian Omidi
 P.O. Box 69242
 West Hollywood, California 90069
 (310) 927-3282
 jomidicontact@gmail.com




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                        CASE NUMBER:

                                                                                  17 CR 00661 DMG
                                                 PLAINTIFF(S)
                             v.

JULIAN OMIDI, et al.                                                      REQUEST FOR APPROVAL OF
                                                                        SUBSTITUTION OR WITHDRAWAL
                                               DEFENDANT(S)
                                                                                OF COUNSEL DELARATION OF        JULIAN OMIDI



                                                    INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a "Notice of Appearance or Withdrawal of Counsel" (Form G-123), instead of this
"Request for Approval of Substitution or Withdrawal of Counsel" (Form G-0 1).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-0 1 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.

SECTION I-WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name:                                                                           CA Bar Number:
          ---------------------------------------------------                                    ------------------
Firm or agency:

Address:

Telephone Number:                                                 Fax Number:
E-mail:
          ------------------------------------------------------------------------------------
Counsel of record for the following party or parties:




Other members of the same firm or agency also seeking to withdraw:




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SECTION II- NEW REPRESENTATION

D       No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
        to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
        party or parties in this case, and who is a member in good standing of the Bar of this Court.
[81     The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
        proceed prose, as self-represented litigants.

0       The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
        who is a member in good standing of the Bar of this Court:

        Name: Julian Omidi                                                                 CA Bar Number: N/A
        Firm or agency: N/ A
                         ------------------------------------------------------------------------
        Address: P.O. Box 69242, West Hollywood, California 90069

        Telephone Number: (310) 927-3282                                 Fax Number:
                               ~~----------------------

        E-mail: jomidicontact@gmail.com


SECTION III -SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.


      Date:                                          Signature: Roger Diamond & Kamille Dean disqualified 10-1-18

                                                     Name:         See accompanying Declaration of Julian Omidi

New Attorney (ijapplicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.


      Date:                                           Signature:

                                                      Name:

Party Represented by Withdrawing Attorney
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):
                                         0   substitution of counsel as specified above.

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      Date: December 6, 2018
                                                      Signature:   -tt1-to'-'14--f--"-....,--+---------------
                                                      Name:        Julian Omidi

                                                      Title:       Attorney in pro se

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 1                             DECLARATION OF JULIAN OMIDI
2
3           I, Julian Omidi, declare and say:
4           1. I am the defendant in the above-entitled action. I submit this Declaration in
 5    Support of my Request for Approval of Substitution or Withdrawal of Counsel.
6           2. On October 1, 2018, the Court entered an Order disqualifying Mr. Roger
 7    Diamond and Ms. Kamille Dean as my counsel of record. Since that date, Mr. Angel
 8    Navarro, who was appointed as my Counsel on June 13,2018, has remained my Appointed
 9    Counsel of record. However, Mr. Navarro was appointed "solely for the limited purpose o
10    providing independent advice as to these defendants' counsel's potential conflicts of
11    interest and the effectiveness of any written waivers." (6-13-18 Order, p. 2 ~ 4, Dkt. 278).
12          3. In his limited Court appointed role, Mr. Navarro has not engaged in actions on
13    my behalf that should or could be taken in this matter. I am effectively without an attorney
14    to assist me, except for advice on the conflicts of interest issue which has since terminated.
15          4. I do not wish to be an attorney in pro se. I wish to retain additional counsel.
16    However, it is essential that I protect myself by requesting the Court to permit me to have
17    in prose status because of the confusion over Mr. Navarro's role and my mistaken belief
18    that he was going to fully represent me until new counsel was retained.
19          5. It was not until the Court made an Order on November 27, 2018 (Dkt. 391),
20    directing that an Opposition to the government's Motion to Unseal Documents be filed by
21    December 5, 2018, that I realized Mr. Navarro was not appointed to represent me on this or
22    any other issue except advice on the conflicts of interest matter. It is now essential that I
23    represent myself in prose to protect myself against the government's Motion to Unseal
24    Documents and to seek additional time from the Court to retain new counsel. Because it is
25    now clear Mr. Navarro's role as Appointed Counsel only encompasses advice on the
26    conflict of interest issue, I must take immediate action in pro se.
27          6. On November 14,2018, the government filed a Motion to Unseal Redacted Order
28    re: inquiry Into Conflicts of Interest Arising from the Legal Representation of Defendants

                                                     1
                   DECLARATION OF JULIAN OMIDI IN SUPPORT OF REQUEST FOR APPOV AL OR
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 1 Omidi, Independent Medical Services, Inc., and Surgery Center Management, LLC (Dkt.
2     3 84 ), and (2) Release a Complete view of the docket to the government ("Motion to
 3    Unseal"). The government claimed that it was entitled to attorney-client privileged
 4 information which I and the co-defendants, Surgery Center Management, and Independent
 5    Medical Services had filed in camera and under seal in connection with the government's
 6    Motion for Inquiry. I wish to oppose the government's request, but I do not have an
 7    attorney who will represent me or file an Opposition.
 8           7. The hearing on this Motion is set for December 12, 2018. Mr. Navarro has not
 9    filed an Opposition to the government's Motion to Unseal. He has informed me that he is
10    not my attorney for purposes of general representation in this case and that he was
11    appointed solely to advise me regarding conflicts of interest. He has not done any work on
12    this matter.
13           8. It would be fundamentally unfair, a violation of attorney-client confidences, a
14    violation of due process of law, and a violation of the representations of confidentiality
15    made by the Court to the defendants for the Court to unseal or release from in camera
16    status documents which the Court had assured me, SCM, and IMS would remain in camera
17    and under seal so that I could and would make a full presentation of the issues regarding
18    their counsel's alleged conflicts of interest.
19           9. As a result, on December 5, 2018, I filed in prose an Opposition to the
20    government's Motion. The document was filed on the Court's ECF system through
21    Attorney Okorie Okorocha as a filing facilitator. He is not my attorney of record and will
22    not appear as attorney of record. Mr. Okorocha will also facilitate my filing of this
23    Request for Approval of Substitution or Withdrawal of Counsel and Declaration.
24           10. Should it be necessary, Mr. Okorocha, who has not filed a Notice of
25    Appearance, will clarify that he is unable to represent me. He assisted my filing solely as a
26    filing facilitator so that I complied with the Court's Order ofNovember 27, 2018 (Dkt.
27    391) directing Opposition be filed by December 5, 2018. Mr. Okorocha is not and will not
28    be my attorney of record.

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                     DECLARATION OF ruLIAN OMIDI IN SUPPORT OF REQUEST FOR APPOVAL OR
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 1           11. Should the Court approve my in pro se appearance in this matter, I will file a
 2    Motion for Additional Time to Retain Counsel. However, I cannot file that Motion unless
 3    the Court allows me to proceed in pro se. In the face of the emergency created by the
 4    government's Motion to Unseal and the Court's November 27, 2018, Order that an
 5    Opposition be filed, I filed an Opposition in pro se. I also request the Court approve my
 6    filing of that pleading.
 7           12. For these reasons I have filed the accompanying Request for Approval of
 8    Substitution or Withdrawal of Counsel. I request the Court grant me in pro se status with
 9    the understanding that the Stay Ordered by this Court on October 1, 2018, should not be
10    lifted, and that I will seek additional time from the Court to retain new counsel. The
11    confusion Mr. Navarro's status as Appointed Counsel has caused has created the need that
12    I be in pro se to seek additional time from the Court and to Oppose the government's
13    Motion to Unseal Documents.
14          I declare under penalty of perjury under the laws of the United States the foregoing
15    is true and correct. Executed this 6th day of December, 2018, at Los Angeles, California.
16

17                                           Is Julian Omidi
18
19                                           Julian Omidi

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                   DECLARATION OF JULIAN   OMIDI IN
                                       -- ------ -
                                                      SUPPORT OF REQUEST FOR APPOVAL OR
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 1                                           CERTIFICATE OF SERVICE
 2         I hereby certify that, on December 6, 2018, I electronically filed the following
 3   document( s) with the Clerk of the Court for the United States District Court for the
 4   Central District of California, by using the district court's CMIECF system:
 5         DEFENDANT JULIAN OMIDI'S REQUEST FOR APPROVAL OF
      SUBSTITUTION OR WITHDRAWAL OF COUNSEL AND DECLARATION OF
 6                           JULIAN OMIDI
 7
           I further certify that all participants in the case are registered CM/ECF users and
 8
     that service will be accomplished by the district court's CMIECF system.
 9
10
                                                                               Is/ Julian Omidi
11
                                                                               Julian Omidi
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          DEFENDANT JULIAN OMIDI'S REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL
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